        4:21-bk-10333 Doc#: 8-1 Filed: 02/03/21 Entered: 02/03/21 08:43:00 Page 1 of 1

                                                  Notice Recipients
District/Off: 0860−4                     User: latrese                       Date Created: 2/3/2021
Case: 4:21−bk−10333                      Form ID: oapvins                    Total: 3


Recipients of Notice of Electronic Filing:
ust         U.S. Trustee (ust)        USTPRegion13.LR.ECF@usdoj.gov
aty         Brian Christopher Wilson       bcwlaw@yahoo.com
                                                                                                      TOTAL: 2

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Stephanie Dollar     401 High Hill Rd.     North Little Rock, AR 72116
                                                                                                      TOTAL: 1
